              Case
DOCUMENTS UNDER    3:15-cr-00529-CRB Document
                 SEAL                                             146 Filed
                                                                       TOTAL10/12/18   Page 14 of
                                                                              TIME (m ins):    M 1
M AGISTRATE JUDGE               DEPUTY CLERK                                       REPORTER/FTR
M INUTE ORDER                  Karen L. Hom                                       FTR: 9:38-9:42
MAGISTRATE JUDGE                DATE                                               NEW CASE         CASE NUMBER
JOSEPH C. SPERO                           October 12, 2018                                          15-cr-0529-CRB-1
                                                      APPEARANCES
DEFENDANT                                 AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                   PD.     RET.
Wing Wo Ma                                          Y        P      Adam Gasner                           APPT.
U.S. ATTORNEY                             INTERPRETER                           FIN. AFFT               COUNSEL APPT'D
Joseph Alioto, Jr., William Frentzen      Anthony Tam - Cantonese               SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Tim Elder                               APPT'D COUNSEL                OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                            TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT            BOND HEARING            IA REV PROB. or           OTHER
                                4M                                                or S/R
       DETENTION HRG               ID / REMOV HRG         CHANGE PLEA             PROB. REVOC.              ATTY APPT
                                                                                                            HEARING
                                                     INITIAL APPEARANCE
         ADVISED                 ADVISED                 NAME AS CHARGED            TRUE NAME:
         OF RIGHTS               OF CHARGES              IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON             READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT               SUBSTANCE
                             3rd Superseding
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY        SPECIAL NOTES               PASSPORT
      ON O/R              APPEARANCE BOND            $                                                  SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION            PRETRIAL               DETAINED          RELEASED      DETENTION HEARING             REMANDED
      FOR               SERVICES                                               AND FORMAL FINDINGS           TO CUSTODY
      DETENTION         REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
    CONSENT                      NOT GUILTY               GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA           PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                        FILED
                                                        CONTINUANCE
TO:                                ATTY APPT               BOND                   STATUS RE:
10/12/18 (prev. set)               HEARING                 HEARING                CONSENT                 TRIAL SET

AT:                                SUBMIT FINAN.           PRELIMINARY            CHANGE OF               STATUS
                                   AFFIDAVIT               HEARING                PLEA
11:00 AM                                                   _____________
BEFORE HON.                        DETENTION               ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                   HEARING                                                                SENTENCING
Breyer
         TIME W AIVED              TIME EXCLUDABLE         IDENTITY /             PRETRIAL                PROB/SUP REV.
                                   UNDER 18 § USC          REMOVAL                CONFERENCE              HEARING
                                   3161                    HEARING
                                                ADDITIONAL PROCEEDINGS



cc: LS
                                                                                      DOCUMENT NUMBER:
